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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT
––––––––––––––––––––––––––––––––––––––––– X
In re Application of LUIS JAVIER MARTÍNEZ :
                                          : ECF Case: 3:18-mc-00047
SAMPEDRO for an Order Pursuant to 28 U.S.C.
§ 1782 to Conduct Discovery for Use in a Foreign
                                          :
Proceeding,                               : Hon. Janet Bond Arterton
                              Petitioner. :
                                          :
––––––––––––––––––––––––––––––––––––––––– X
  PETITIONER’S MOTION TO EXPEDITE HIS RENEWED MOTION TO COMPEL

       Petitioner hereby seeks expedited treatment of his renewed motion to compel, which was

filed earlier today (Dkt. 56), and requests that the Court adopt an expedited briefing schedule.

       As the Court is aware, the Court granted petitioner leave on April 30, 2018 to obtain

discovery for use at a January 16, 2019 hearing in Spain. On October 30, 2018, the Court

denied in part respondents’ motions to quash, directing the parties to meet and confer. The Court

ruled that, if the parties were unable to reach agreement in the two weeks that followed, then

petitioner could “immediately renew” his motion to compel. Dkt. 55 at 13. Unfortunately,

despite petitioner’s best efforts, the parties have been unable to resolve their differences, and

petitioner has no choice but to renew his motion. Given the limited time that remains before the

January 16, 2019 hearing, expedition of the renewed motion is necessary to ensure that petitioner

is able to receive documents in advance of depositions, and so that petitioner can use the

documents and deposition transcripts at the hearing, as the Court has twice ruled he is entitled.

       Petitioner respectfully requests that the Court set the following briefing schedule on his

renewed motion to compel, or schedule a telephone conference to set an appropriate schedule:

       Respondents’ opposition (limited to 15 pages combined) — Friday Nov. 16, 2018

       Petitioner’s reply brief (limited to 5 pages) — Sunday Nov. 18, 2018
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       In view of the circumstances explained above, we respectfully submit that this

abbreviated schedule is appropriate. Moreover, respondents will suffer no prejudice.

Petitioner’s motion has already been briefed; the rules governing discovery are well established;

and respondents are represented by experienced counsel. Respondents do not consent to the

foregoing schedule.


DATED:      New York, New York
            November 14, 2018


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                                                    Attorneys for Petitioner
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                                  CERTIFICATE OF SERVICE

        I certify that on this 14th of November 2018, the foregoing Motion to Expedite was filed

electronically by using the CM/ECF system, and that notification of this filing is to be provided to all

counsel of record who have registered to receive notices from the court under the CM/ECF system.

                                                                  /s/ Vincent Levy____
                                                                      Vincent Levy
